Case 1:20-cr-00015-LG-JCG Document16 _ Filed 01/15/20 Pagelof5

SOUTHERN DISTRICT OF MISSISSIPF! -

FILED
JAN 15 2020
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI goof a
SOUTHERN DIVISION
UNITED STATES OF AMERICA
v. criminatno. [;A0CR 19-4 G- ICG
JOSE RAMON HERNANDEZ-REYES 8 U.S.C. § 1324(a)(1)(A)(ii) & (v)()
a/k/a Jose Ramon Hernandez Reyes 8 U.S.C. § 1324(a)(1)(A)(Gii) & (VCD)
a/k/a Jose Hernandez-Reyes 8 U.S.C. § 1324(a)(1)(A)(ii)
a/k/a Jose Hernandez Reyes 8 U.S.C. § 1326(a)
a/k/a Jose Hernandez and 18 U.S.C. § 4
MODESTO ALVARADO
The Grand Jury charges:
COUNT 1

On or about December 4, 2019, in Jackson County, in the Southern Division of the
Southern District of Mississippi, and elsewhere, the defendants, JOSE RAMON
HERNANDEZ-REYES a/k/a Jose Ramon Hernandez Reyes a/k/a Jose Hernandez-
Reyes a/k/a Jose Hernandez Reyes a/k/a Jose Hernandez and MODESTO
ALVARADO, did knowingly conspire and agree with one or more other persons known
and unknown to the Grand Jury, to transport and move and attempt to transport and move
within the United States by means of transportation and otherwise, an alien who had come
to, entered, and remained in the United States in violation of law, in furtherance of such
violation.

In violation of Title 8, United States Code, Section 1324(a)(1)(A)(i1) and (v)(D.

COUNT 2
On or about December 4, 2019, in Jackson County, in the Southern Division of the

Southern District of Mississippi, and elsewhere, the defendants, JOSE RAMON

Case 1:20-cr-00015-LG-JCG Document16 Filed 01/15/20 Page2of5

HERNANDEZ-REYES a/k/a Jose Ramon Hernandez Reyes a/k/a Jose Hernandez-
Reyes a/k/a Jose Hernandez Reyes a/k/a Jose Hernandez and MODESTO
ALVARADO, knowingly and in reckless disregard of the fact that an alien, namely:
J.E.A.-H., had come to, entered, and remained in the United States in violation of law, did
transport and move said alien within the United States by means of transportation, namely:
a motor vehicle, in furtherance of such violation of law, for the purpose of commercial

advantage or private financial gain.

In violation of Title 8, United States Code, Sections 1324(a)(1)(A)(i) and (v)dD
and (B)(i).

COUNT 3
On or about December 4, 2019, in Jackson County, in the Southern Division of the
Southern District of Mississippi, and elsewhere, the defendants, JOSE RAMON
HERNANDEZ-REYES a/k/a Jose Ramon Hernandez Reyes a/k/a Jose Hernandez-
Reyes a/k/a Jose Hernandez Reyes a/k/a Jose Hernandez and MODESTO
ALVARADO, knowingly and in reckless disregard of the fact that an alien, namely:
O.N.G.-S., had come to, entered, and remained in the United States in violation of law, did
transport and move said alien within the United States by means of transportation, namely:
a motor vehicle, in furtherance of such violation of law, for the purpose of commercial
advantage or private financial gain.
In violation of Title 8, United States Code, Sections 1324(a)(1)(A)(ii) and (v)(II)
and (B)(i).
COUNT 4
On or about December 4, 2019, in Jackson County, in the Southern Division of the

Southern District of Mississippi, and elsewhere, the defendants, JOSE RAMON
Case 1:20-cr-00015-LG-JCG Document16 Filed 01/15/20 Page 3of5

HERNANDEZ-REYES a/k/a Jose Ramon Hernandez Reyes a/k/a Jose Hernandez-
Reyes a/k/a Jose Hernandez Reyes a/k/a Jose Hernandez and MODESTO
ALVARADO, knowingly and in reckless disregard of the fact that an alien, namely: E.D.-
O., had come to, entered, and remained in the United States in violation of law, did
transport and move said alien within the United States by means of transportation, namely:
a motor vehicle, in furtherance of such violation of law.

In violation of Title 8, United States Code, Section 1324(a)(1)(A)Gi) and (v)UID.

COUNT 5

On or about December 4, 2019, in Jackson County, in the Southern Division of the
Southern District of Mississippi, and elsewhere, the defendant, MODESTO
ALVARADO, knowingly and in reckless disregard of the fact that an alien, namely: Jose
Ramon Hernandez-Reyes, had come to, entered, and remained in the United States in
violation of law, did transport and move said alien within the United States by means of
transportation, namely: a motor vehicle, in furtherance of such violation of law.

In violation of Title 8, United States Code, Section 1324(a)(1)(A)(ii).

COUNT 6

On or about December 4, 2019, in Jackson County, in the Southern Division of the
Southern District of Mississippi, and elsewhere, the defendant, JOSE RAMON
HERNANDEZ-REYES a/k/a Jose Ramon Hernandez Reyes a/k/a Jose Hernandez-
Reyes a/k/a Jose Hernandez Reyes a/k/a Jose Hernandez, an alien to the United States,
who knowingly had been lawfully deported or removed from the United States, was found
in the United States, having knowingly and unlawfully reentered the United States, without

having received the consent of the Attorney General of the United States or of the
Case 1:20-cr-00015-LG-JCG Document16 Filed 01/15/20 Page4of5

Secretary of the Department of Homeland Security to apply for readmission to the United
States.

In violation of Title 8, United States Code, Section 1326(a).

COUNT 7
_ On or about December 4, 2019, in Jackson County, in the Southern Division of the

Southern District of Mississippi, and elsewhere, the defendant, MODESTO
ALVARADO, knowingly failed to report to legal authorities, and affirmatively acted to
conceal from law enforcement, a felony cognizable by a court of the United States, in that
the defendant, who had acted as a co-driver with Jose Ramon Hernandez-Reyes, of the
vehicle in which they were traveling together with one or more illegal aliens to the United
States, failed to report his knowledge of the felony to officials, including agents of the U.S.
Border Patrol and Homeland Security Investigations, and upon being questioned by a law
enforcement official, the defendant affirmatively stated words to the effect that they were
traveling from Texas to Maryland for work, to conceal the unlawful actions of Jose Ramon
Hernandez-Reyes, in knowingly transporting and moving within the United States by
means of transportation and otherwise, one or more aliens who had come to, entered, and
remained in the United States in violation of law, in furtherance of such violation, as
prohibited by Title 8, United States Code, Section 1324(a)(1)(A)(ii).

In violation of Title 18, United States Code, Section 4.

NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

As aresult of committing the offenses as alleged in this Indictment, the defendant

shall forfeit to the United States all property involved in or traceable to property involved

in the offenses, including but not limited to all proceeds obtained directly or indirectly
Case 1:20-cr-00015-LG-JCG Document16 Filed 01/15/20 Page5of5

from the offenses, and all property used to facilitate the offenses. Further, if any property
described above, as a result of any act or omission of the defendant: (a) cannot be located
upon the exercise of due diligence; (b) has been transferred or sold to, or deposited with, a
third party; (c) has been placed beyond the jurisdiction of the Court; (d) has been
substantially diminished in value; or € has been commingled with other property, which
cannot be divided without difficulty, then it is the intent of the United States to seek a
judgment of forfeiture of any other property of the defendant, up to the value of the
property described in this notice or any bill of particulars supporting it.

All pursuant to Title 18, Unites States Code, Section 982(a)(6); Title 8, United

States Code, Section 1324(b); and Title 28, United States Code, Section 2461.

ze

/ D. MIGHAEL HURST, JR.

United States Attorney

A TRUE BILL:

s/Signature Redacted
Foreperson of the Grand Jury

This indictment was returned in open court by the foreperson or deputy foreperson

of the Grand Jury on this, the 1S zh, of January, 2020.

AsaW

UNITED STATES MAGISTRATE JUDGE

